 

Moorish Americans
Aboriginal Natural Peoples of the Land — North America / Northwest Amexem

Affidavit of Fact
Notice of Default Judgment

July 13, 2020
thomas james brown bey, sovereign judge
c/o [15216] carlisle — non-domestic without UNITED STATES
detroit territory, michigan republic [48205-9998]
northwest amexem
creditor

Michael Duggan dba acting as MAYOR

David Cetlinski dba acting as DIRECTOR

De facto City of Detroit 701b 2070 O000 0219 3336
2 Woodward Ave., Ste. 1126

Detroit, Michigan 48226

Libellee(s)

 

United States Republic Postmaster Article No: 7016 2070 0000 0219 3338
RE; “Writ in the Nature of Discovery” dated May 26, 2017.

You were advised that certain documentation was requested to make a physical inspection and
enable the Borrower to verify and Witness the same in order to prepare a defense. You were
advised to provide the requested information in order that | may study all evidence regarding this
matter within ten (10) days of the receipt of this Notice of Discovery.

Per the United States Republic Postmaster the request was received by Police & Fire Retirement
System CITY OF DETROIT MICHIGAN USA Corporate Headquarters on May 26, 2017.
Deadline for receipt of documentation was June 15, 2017.

As this request has not been Honored — this notice of default judgment is being submitted and all
claims, petitions, suits, fillings with any third party corporations regarding my credit history be

dismissed and expunged.

All officers of the Court are required to take an oath of office to uphold the Constitution of the
United States.

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“The Constitution for the United States of America binds all judicial officers at Article 6,
wherein it does say, “This Constitution and the Laws of the United States which shall be made in
pursuance thereof, and all Treaties made, or which shall be made under the authority of the
United States, shall be the Supreme Law of the Land, and the Judges of every State shall be
hound thereby, anything in the Constitution or laws of any state to the Contrary, not
withstanding,” see Clause 2.”

Denial of Discovery ts in direct violation of my Constitutionally Secured Rights to “Due Process
of Law” which is a direct violation of your oath of office.

The 5" Amendments require that all persons within the United States must be given due process
of the law and equal protection of the law.

“Due process of law implies the right of the person affected thereby to be present before the
iribunal which pronounces judgment upon the question of life liberty, or property, in its most
comprehensive sense; to be heard, by testimony or otherwise, and to have the right of
controverting, by proof, every material fact which bears on the question of right in the matter
involved.”

“Ufany question of fact or liability be conclusively presumed against him, this is not due process
of law, Zeigler v. Railroad Co., 58 Ala. 599.”

“In Interest of MV., 288 HLApp.3d 300, 681 N_E.2d 532 (Ist Dist, 1997). Without subject-matter
Jurisdiction, all of the orders and judgments issued by a judge are void under law, and are af no
legal force or effect. In Interest of M.V., 288 ILApp.3d 300, 681 N.E.2d 532 (ist Dist. 1997)
("Every act of the court beyond that power is void").

Centralized Small Claims is not an Article II court; and has no delegated jurisdiction / authority
under the Supreme Law of the Land, and unconfirmed by the Congress of the United States.

“The parties to the Compact of the United States Constitution further agreed that the
enumeration in the Constitution of certain Rights shall not be construed to deny or disparage
others retained by the People (Article 9 of the Bill of Rights to the Constitution for the United
States).

“When acting to enforce a statute and its subsequent amendments (o the present date, the judge
of the municipal court is acting as an administrative officer and not in a judicial capacity; courts

in administering or enforcing statutes do not act judicially, but merely ministerially, Thompson
v. Smith, /54 SE 583,"

“... Courts in administrative issues are prohibited from even listening to or hearing arguments,
presentations, or rational. ASIS v. US, 568 F2d 284."

“Ministerial officers are incompetent to receive grants of judicial power from the legislature,

their acts in attempting to exercise such powers are necessarily nullities. Burns v. Sup. Ct, SF,
£40 Cal. 1.”

I, thomas james brown bey. do not, under any condition or circumstance, by threat, duress, or
coercion, waive any rights Inalienable or Secured by the Constitution or Treaty, and, hereby

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requests this Court fulfill their obligation to preserve the rights of this Petitioner (A Moorish
Americans) and carry out their Judicial Duty in ‘Good Faith’.

All UNCONSTITUTIONAL Citations - Summons / Ticket — Suit / (misrepresented) Bill of
Exchange: Docket Number # 7016 3710 0000 5925 5851, and any other ‘Order’ or ‘Action’
associated with it / them, to be dismissed and expunged for the record on it’s face and merits.

Thank You,

ote DUN
Ex-Relational thomas janes brown bey

All Rights Reserved: U.C.C. 1-207/ 1-308: UC.C. 1-103

Exhibit A: Copy of Writ In The Nature of Discovery
Exhibit B: Copy of United States Republic Postmaster Return Receipt to P&F Retirement System City of Detroit

ec: State of Michigan Attorney General
Dana Nessel DBA Attorney General
c/o 525 OTTAWA ST.; P.O. Box 30212
Lansing, Michigan 48909

miap(@michigan.gov

State of Michigan Secretary of State
Jocelyn Benson DBA Secretary Of State
430 W. Allegan; 4" floor

Lansing, Michigan 48918

CITY OF DETROIT

Michael Duggan dba De facto MAYOR
2 Woodward Ave., Rm. 1126

Detroit, Michigan 48226

313-224-3400

FOIA@detroitmi.gov,

US DISTRICT COURT EASTERN MICHIGAN DISTRICT
Honorable Denise Page Hood, dba Chief Judge

David J. Weaver, dba Court Administrator/Clerk of Court
Clerk's Office

Theodore Levin U.S. Courthouse
231 W. Lafayette Blvd., Room 599
Detroit, Ml 48226

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